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                       EXHIBIT 
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                                                                    Page 1

 1              IN RE NATIONAL PRESCRIPTION OPIATE LITIGATION
                                        MDL No. 2804
 2                                Case No. 17-md-2804
 3                                     THIS RELATES TO:
 4
 5             CITY OF CLEVELAND, OHIO, ETAL VS. PURDUE PHARMA L.P.
 6                             ET AL CASE NO. 18-OP-45132
 7
 8                 THE COUNTY OF CUYAHOGA, OHIO, ET AL VS. PURDUE
 9                      PHARMA L.P., ET AL CASE NO. 18-OP-45090
10
11              THE COUNTY OF SUMMIT, OHIO, ET AL VS. PURDUE PHARMA
12                             L.P., ET AL CASE NO. 17-OP-45004
13
14
15                                 VIDEO DEPOSITION OF
16
17                                      MAGGIE KEENAN
18
19
20                                     JANUARY 18, 2019
21
22              DEPOSITION HELD AT CLIMACO, WLICOX, PECA & GAROFOLI
23                                   55 PUBLIC SQUARE
24
25                                 CLEVELAND, OH 44113

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                                                     Page 130                                                        Page 132
   1   back on the record.                                       1       A Yes. They are also involved in cases of
   2       Q (Mr. Keyes) Miss Keenan, turning your               2   child support, and they also, the prosecutor's
   3   attention to the prosecutor line on this chart.           3   office has a civil division. So that's the civil
   4       A Yes.                                                4   attorneys represent the county.
   5       Q Do you how any of the figures for that              5       Q And given the prosecutors fulfill those
   6   line were calculated?                                     6   different functions, what are the specific harms
   7       A Um, no, I do not. I was not part of the             7   incurred by Cuyahoga County because of the opioid
   8   calculation. That was done by the attorneys.              8   problem related to prosecutors?
   9       Q This refers to prosecutors who prosecute            9       A That's identified in this table.
  10   criminal cases, correct?                                 10             So, for example, in 2017, the harm to
  11       A Again, I wasn't part of it, but I do not           11   the county prosecutor's office was $5 million.
  12   believe that that would be exclusive to criminals or     12       Q Okay. But, ma'am, you keep switching back
  13   prosecutors who prosecute criminal defendants.           13   and forth between the chart. When I ask you a
  14       Q You said there are prosecutors who                 14   question about the chart, you say I wasn't involved
  15   prosecute criminal cases and prosecutors who are         15   in the chart, I don't know how the numbers are
  16   involved in trying to remove children from their         16   prepared.
  17   homes?                                                   17             So I'm not asking you to look at the
  18       A That's correct. And we have prosecutors            18   chart. I'm saying as the corporate representative
  19   who are involved in tax foreclosures.                    19   on the damages topic, where I ask you to tell me
  20       Q Is the time spent by prosecutors on                20   what the damages are. You went through a list and
  21   prosecuting tax foreclosures included in that line       21   one of the items on your list was prosecutors. So
  22   item?                                                    22   I'm asking you with respect to prosecutors, what are
  23       A That I can't answer.                               23   the harms incurred by Cuyahoga County relating to
  24       Q Is the time a prosecutor spent prosecuting         24   the opioid epidemic, tell me what they are?
  25   criminal case included in this line?                     25          MR. BADALA: Objection, asked and answered
                                                     Page 131                                                        Page 133
   1          MR. BADALA: Are you done with that                 1   just for the record, she was going through the chart
   2   answer?                                                   2   and saying she made a list.
   3       A No. I can't answer that. I was not part             3       A This exhibit identifies the county damages
   4   of this calculation, this was done by the experts.        4   for the prosecutor's office, for the period 2006
   5       Q (Mr. Keyes) Okay. The prosecutors you               5   through 2017. We have identified $50 million that
   6   said though line item includes the personnel cost of      6   is the harm that has been caused to the prosecutor's
   7   prosecutors, correct?                                     7   office.
   8       A I can definitively would say this include           8       Q (Mr. Keyes) What does that $50 million
   9   some personnel cost, yes.                                 9   measure, what is it?
  10       Q The prosecutors you described three                10           MR. BADALA: Objection to form.
  11   things, they prosecute criminal cases, correct?          11       Q (Mr. Keyes) What are the components of
  12       A That's correct.                                    12   the costs that are included in that $50 million?
  13       Q Where the defendants have been accused of          13           MR. BADALA: Objection to form, asked and
  14   a crime?                                                 14   answered.
  15       A That is correct.                                   15       A I have answered that. This table was
  16       Q They prosecute tax foreclosure cases,              16   created by experts. This is not in the county's,
  17   correct?                                                 17   this is outside the scope of what my role is as a
  18       A That is correct.                                   18   budget director, I'm sorry to cover that, and what
  19       Q Do the tax foreclosure cases have anything         19   the county does. We rely on experts.
  20   to do with prescription opioids?                         20       Q (Mr. Keyes) Okay. Put the chart to the
  21       A They might.                                        21   side. We don't need to look at the chart since you
  22       Q Do you know?                                       22   know nothing about the chart. So you can put the
  23       A I do not know for sure, no.                        23   chart to the side.
  24       Q And you said the prosecutors are involved          24       A But my topic is damages. If we are still
  25   in cases to remove children from their homes?            25   talking about damages, I'm going to refer to this

                                                                                                   34 (Pages 130 - 133)
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